      Case 2:20-cv-00142-CG-GBW Document 57 Filed 10/02/20 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

GERARDO HERRERA,

               Plaintiff,

v.                                                         CV No. 20-142 CG/GBW

BERKLEY REGIONAL INSURANCE
COMPANY,

               Defendant.

               ORDER SETTING TELEPHONIC STATUS CONFERENCE

      THIS MATTER is before the Court upon review of the record. IT IS HEREBY

ORDERED that a status conference will be held by telephone on October 9, 2020, at

10:30 a.m. Parties shall call Judge Garza’s AT&T Teleconference line at (877) 810-

9415, follow the prompts, and enter the Access Code 7467959, to be connected to the

proceedings.

      IT IS SO ORDERED.


                                 THE HONORABLE CARMEN E. GARZA
                                 CHIEF UNITED STATES MAGISTRATE JUDGE
